
82 So. 3d 212 (2012)
Eugene LEVESQUE, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-2168.
District Court of Appeal of Florida, First District.
March 20, 2012.
Nancy A. Daniels, Public Defender, Pamela D. Presnell, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, Therese A. Savona, Assisstant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
We affirm Appellant's conviction on Count I, but reverse and remand with directions to the trial court to vacate either Count II or Count III, as conceded by the State, and resentence Appellant accordingly.
AFFIRMED in part, REVERSED in part, and REMANDED.
DAVIS, THOMAS, and RAY, JJ., concur.
